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Case No. 3:208W9 2

UNITED STATES DISTRICT COUR

for the

  
  

Eastern District of Virginia

   

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D. VA COURT

  

ON!

 

 

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

 
 

Information associated with Facebook User Id:
tinacory.jones that is stored at premises controlled by
Facebook

Ne ee ee ed ee ee”

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

Prgperhyte be cearcheR and give its location):

 

men
located in the Eastern District of Virginia , there is now concealed (identify the
person or describe the property to be seized):
See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
a evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
Title 18 U.S.C § 922 (a)(1)(A) Dealing Firearms Without a License

The application is based on these facts:

See Attached Affidavit

wm Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on a
i ee

 

wet f
— C<
— Applicant 's signature

Adam Ulery, ATF, Special Agent

Printed name and title

Sworn to before me and signed in my presence.
Date: 2/ [[20% ssh Gi

United States Magistrate

 

Roderick Grecurggadure
shee

City and state: Richmond, Virginia

Printed name and title
Case 3:20-sw-00033-RCY Document1 Filed 02/14/20 Page 2 of 25 PagelD# 2

 
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IN THE UNITED STATES DISTRICT COURT

 

 

R .S. DISTRI
FOR THE EASTERN DISTRICT OF VIRGNLA ——aala RNC

Richmond Division

IN THE MATTER OF THE SEARCH
OF INFORMATION ASSOCIATED
WITH FACEBOOK USER ID:
tinacory.jones THAT IS STORED AT
PREMISES CONTROLLED BY
FACEBOOK

Case No. 3:20SW 4 4

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, A. J. Ulery, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

i. 1 make this affidavit in support of an application for a search warrant for
information associated with a certain Facebook User ID tinacory.jones that is stored at premises
owned, maintained, controlled, or operated by Facebook, a social networking company
headquartered in Menlo Park, California. The information to be searched is described in the
following paragraphs and in Attachment A. This affidavit is made in support of an application
for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require
Facebook to disclose to the government records and other information in its possession,

pertaining to the subscriber or customer associated with the user ID.

2s I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) and have been since October 2009. My law enforcement and legal training
consist of the Criminal Investigator Training Program at the Federal Law Enforcement Training

Center in the winter of 2009, and the Special Agent Basic Training at the ATF National
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Academy in the spring of 2010. I received specialized training at the academy concerning
violations of the Gun Control Act within Title 18 of the United Stated Code. Since graduating
from the academy, I worked at the ATF Fairview Heights, IL Field Office from the spring of
2010 until April 2016, and then at the Richmond, VA Field Office from April 2016 through the
present. In addition to training at the academy, I attended the ATF Complex Case training in
January 2013. During my tenure as an ATF Special Agent with the Department of Justice, I
have participated in, and lead numerous investigations, to include but not limited to, homicide,
organized crime, narcotics and firearms trafficking, and federal firearms violations. These
violations are included in Title 18 and 21 of the United States Code. I have authored search and
seizure, and arrest warrants in connection with these investigations. I have participated in the
preparation and execution of numerous arrest and search warrants for criminal offenses involving
possession with the intent to distribute controlled substances, and the illegal trafficking and
possession of firearms. I am familiar with the methods drug traffickers and illegal firearms
traffickers use to conduct their illegal activities, to include communication methods, vehicles,
text messaging, and narcotics transactions. I received specialized training in narcotics
identification, detection, and trafficking, and participated in multiple narcotics distribution

interdiction assignments with state and local law enforcement jurisdictions.

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.
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4. Based on my training and experience and the facts as set forth in this affidavit,
there is probable cause to believe that violations of Title 18 U.S.C § 922 (a)(1)(A), Dealing
Firearms Without a License has been committed by Cory Robert Jones as described in
Attachment A, for evidence of these crimes, as described in Attachment B.

PROBABLE CAUSE

5. On November 3, 2017, Cory Jones conducted a purchase of three (3) AR-15 lower
receivers from the Tennessee Arms Company. This transaction was conducted online. The
receivers were identified as having Serial Numbers 1633807350, 1633807421 & 1633807390.
The receivers were shipped by Tennessee Arms Company to PG Sporting Goods in Disputanta,
VA. Business records from Tennessee Arms Company show that Jones created an online account,
to include his name, address, phone number and email address to complete the transaction. The

above listed information was obtained via a Grand Jury Subpoena.

6. On December 29, 2017, Jones’ then wife, Christina Sasser, completed ATF Form
4473 at PG Sporting Goods and took possession of the above mentioned AR-15 lower receivers.
I have reviewed the form and Sasser’s identifiers on the form, as well as what appears to be her

signature, indicating that Sasser took possession of the three (3) AR-15 lower receivers.

7. On June 28, 2018, the ATF conducted a controlled purchase of an AR-15 pistol in
Petersburg, VA. The ATF utilized an ATF Confidential Informant (CI) for this operation. This
CI has proved reliable in that the CI has been utilized by ATF for approximately 10 months,
conducted numerous purchases of narcotics and firearms under the direction and supervision of
ATF agents. The information provided by the CI has been corroborated in multiple ways, including

through the use of GPS data, recorded telephone calls, audio and video recordings, and surveillance
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operations. Before the June 28, 2018 operation, the CI and his/her person and vehicle were
searched for contraband and United States currency with negative results. The CI was provided
with $1,200 in ATF Cashier Funds to make the purchase of a firearm. The CI completed the
purchase of a Tennessee Arms Company LLC, TNA Arms 15, .223 caliber semi-automatic pistol,
bearing serial number 1633807350. The firearm was purchased from Armon Lee. Armon Lee has
since pled guilty to multiple charges of sale of firearms to a convicted felon. Lee has already been

sentenced.

8. On June 29, 2018, I conducted a trace of the Tennessee Arms Company LLC, TNA
Arms 15, .223 caliber semi-automatic pistol, bearing serial number 1633807350 through the ATF
National Tracing Center. The ATF National Tracing Center determined that Christina Sasser was
the purchaser of the firearm. The trace showed that Christina Sasser purchased the firearm from

PG Sporting Goods on December 29, 2017.

9. On May 7, 2019, Special Agent Jason McClendon and your affiant conducted an
interview of Armon Lee. Lee was shown a photograph of the Tennessee Arms Company LLC,
TNA Arms 15, .223 caliber semi-automatic pistol bearing serial number 1633807350 that he sold
to the ATF CI on June 28, 2018. Lee stated that he had obtained the firearm from and individual
identified as Fred Pender. Lee also identified Pender via a photograph. Lee stated that he and the
CI drove to a location to meet Pender and, once there, Lee obtained the firearm from Pender. It

should be noted that your affiant has identified Fred Pender as being a previously convicted felon.

10. On August 21, 2019, S/A McClendon and I interviewed Christina Sasser who was
read the ATF Fraud and False Statement Warning Form, which she then signed. Sasser was asked

about the Tennessee Arms Company LLC, TNA Arms 15, .223 caliber semi-automatic pistol,
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bearing serial number1633807350, and was asked whether Sasser was still in possession of the
firearm. Note that this firearm was the firearm that had been purchased by the ATF CI on June
28, 2018. Sasser stated that she did not believe she had the firearm in her possession. Sasser
acknowledged, however, that she had filled out the paperwork for the lower receiver, although she
did not actually purchase it. Sasser added that this took place at PG Sporting Goods. She further
stated that the firearm was at her ex-husband’s house, and identified Cory Jones as her ex-husband.
Sasser stated that she had no dealings with the lower receivers and that it was all “Jones” stuff.”
Sasser advised that she gave the lower receivers to Jones because he builds AR-15s. When asked
by agents whether she had any firearms in the house, Sasser said that she did, and produced three
firearms. One of these firearms was a Tennessee Arms Company LLC, TNA Arms 15, .223 caliber
rifle, bearing serial number 1633807421, which was one of the lower receivers Sasser had picked
up from PG Sporting Goods on December 29, 2017. One of the firearms was an AR-15 “ghost
gun,” which is a firearm that has no make, model, caliber or serial number stamped on it.' The

third firearm was an AR-15 pistol “ghost gun.”

11. With regard to the three lower receivers Sasser had acquired at PG Sporting Goods,
Sasser stated that she had purchased the lower receivers for Jones, but added that she could not
remember the last time she saw them. Sasser further stated that Jones had asked her to complete
the paperwork at PG Sporting Goods for the lower receivers. In addition to these lower receivers,

Sasser also admitted to purchasing a fourth AR-15 lower receiver for Jones on April 15, 2018.

 

! without this information (i.e., make, model, caliber and serial number) the ATF is unable trace
a firearm back to its original purchaser.
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12. Sasser further informed us that over the past two years, Jones has built at least 25
firearms. Sasser stated that Jones was selling the firearms to earn extra income. Sasser stated that
she knew of one shotgun that Jones sold on Facebook and of one other firearm Jones raffled on
Facebook. She further advised that the two ghost guns belonged to her mother. She added that
her mother obtained both firearms from Jones, one as a Christmas gift and the other through the
above-mentioned raffle that had been held by Jones. Sasser advised that because Jones knew her
mother, Jones did not conduct a background check on her mother before giving her the two
firearms. She also stated that Jones was known for not conducting background checks for his gun
sales. Sasser identified the Facebook account of tinacory.jones as a Facebook page that she and
Jones previously used together. Sasser also informed us that Jones utilized that particular

Facebook page to sell firearms.

13. On December 11, 2019, I reviewed the Facebook account of tinacory.jones. The
page was open to the public and had multiple photos of both Sasser and Jones on it. I reviewed

the following posts:

e September 30, 2017 — “The gun build is complete. Got Tina to put this
one together. It’s ready to go to its new home. Thank you to everyone
who have gotten raffle tickets for the give away for our grandma’s
treatment. Still a few tickets left and only a few weeks before the deadline
is here so if you haven’t gotten a ticket yet please let us know we would
greatly appreciate any help.” Two photos of a black AR-15 rifle with a
scope were attached to this post.

e September 30, 2017 - Work work work. 5.56 dope give away gun. 6.5

Grendel done hunting rifle. 6.8 spl II done hunting rifle. What’s next.” A
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photo of what appears to be two disassembled AR-15s were attached to
the post. User Brian O Dupuis replied to the post and asked, “BMG????”
I have come to understand that “BMG” is an acronym for Browning
Machine Gun. A .50 caliber rifle is commonly referred to as a BMG. The
user tinacory.jones responded by stating, “Can. I can do a bmg50 as long
as yo9u got the money for it lol.”

e October 5, 2017 - “6.5 complete upper if you want it let me know.” Three
photos of what appears to be an upper receiver for a rifle were attached to
the post. Tinacory.jones added a comment to the original post by stating,
“6.5 Grendel $350.” I have come to know that “6.5 Grendel” is a specific
type of ammunition, and believe that in this instance tinacory.jones is
advising customers that the pictured upper receiver is equipped to shoot
6.5 Grendel ammunition. Tinacory.jones posted a later comment to this
thread stating, “sold.”

e October 5, 2017 — “Last one for a while.” Two photos of what appear to
be “ghost gun” lower receivers are pictured. One of the lower receivers is
next to an Anderson Manufacturing box.

¢ October 10, 2017 — “My boy Ricky Walton aka Ricki Bobby. With his toy
we did.” A photo of a white male holding what appears to be a black rifle,
with a silver lower receiver was attached to this posting.

© October 29, 2017 - “Quick trigger job on the new 308 and swapped the
scope off the 6.8 to the 308 and ready to go. So the 6.8 is ready to go back

home to its original owner. Lol.” A photo of two black AR-15 style rifles
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were attached to the post. Facebook user Brian O Dupuis commented on
this post by stating, “When is the lottery for the 223.” I have come to
know that “223” is a common caliber used in rifles such as AR-15s.
Tinacory.jones responded by stating, “I tried to tag you in it but won’t let

me. It’s a live video on my page Oct 20.”

14, Based on the foregoing, there is probable cause to believe Jones has utilized
Facebook User ID tinacory.jones to deal firearms without a license in violation of Title 18 U.S.C
§§ 922(a)(1)(A). <A preservation letter was previously sent to Facebook for username

“tinacory.jones.”

FACEBOOK

15. | Facebook owns and operates a free-access social networking website of the same
name that can be accessed at http://www.facebook.com. Facebook allows its users to establish
accounts with Facebook, and users can then use their accounts to share written news,
photographs, videos, and other information with other Facebook users, and sometimes with the

general public. (See Attachment B, Paragraph (b)).

16. | Facebook asks users to provide basic contact and personal identifying information
to Facebook, either during the registration process or thereafter. This information may include
the user’s full name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook
security questions and answers (for password retrieval), physical address (including city, state,
and zip code), telephone numbers, screen names, websites, and other personal identifiers.
Facebook also assigns a user identification number to each account. (See Attachment B,

Paragraph (a)).
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17. Facebook users may join one or more groups or networks to connect and interact
with other users who are members of the same group or network. Facebook assigns a group
identification number to each group. A Facebook user can also connect directly with individual
Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend Request”
accepts the request, then the two users will become “Friends” for purposes of Facebook and can
exchange communications or view information about each other. Each Facebook user’s account
includes a list of that user’s “Friends” and a “News Feed,” which highlights information about
the user’s “Friends,” such as profile changes, upcoming events, and birthdays. (See Attachment

B, Paragraphs (d), (e), and (j)).

18. Facebook users can select different levels of privacy for the communications and
information associated with their Facebook accounts. By adjusting these privacy settings, a
Facebook user can make information available only to himself or herself, to particular Facebook
users, or to anyone with access to the Internet, including people who are not Facebook users. A
Facebook user can also create “lists” of Facebook friends to facilitate the application of these
privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook. (See Attachment B,

paragraph (0)).

19. Facebook users can create profiles that include photographs, lists of personal
interests, and other information. Facebook users can also post “status” updates about their
whereabouts and actions, as well as links to videos, photographs, articles, and other items
available elsewhere on the Internet. Facebook users can also post information about upcoming
“events,” such as social occasions, by listing the event’s time, location, host, and guest list. In

addition, Facebook users can “check in” to particular locations or add their geographic locations
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to their Facebook posts, thereby revealing their geographic locations at particular dates and
times. A particular user’s profile page also includes a “Wall,” which is a space where the user
and his or her “Friends” can post messages, attachments, and links that will typically be visible

to anyone who can view the user’s profile. (See Attachment B, Paragraphs (d), (e), and (f)).

20. | Facebook has a Photos application, where users can upload an unlimited number
of albums and photos. Another feature of the Photos application is the ability to “tag” (.e.,
label) other Facebook users in a photo or video. When a user is tagged in a photo or video, he or
she receives a notification of the tag and a link to see the photo or video. For Facebook’s
purposes, the photos associated with a user’s account will include all photos uploaded by that
user that have not been deleted, as well as all photos uploaded by any user that have that user

tagged in them. (See Attachment B, Paragraph (c)).

21. | Facebook users can exchange private messages on Facebook with other users.
These messages, which are similar to e-mail messages, are sent to the recipient’s “Inbox” on
Facebook, which also stores copies of messages sent by the recipient, as well as other
information. Facebook users can also post comments on the Facebook profiles of other users or
on their own profiles; such comments are typically associated with a specific posting or item on
the profile. In addition, Facebook has a Chat feature that allows users to send and receive instant
messages through Facebook. These chat communications are stored in the chat history for the
account. Facebook also has a Video Calling feature, and although Facebook does not record the

calls themselves, it does keep records of the date of each call. (See Attachment B, Paragraph

(e)).
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22. If a Facebook user does not want to interact with another user on Facebook, the
first user can “block” the second user from seeing his or her account. (See Attachment B,

Paragraph (0)).

23. Facebook has a “like” feature that allows users to give positive feedback or
connect to particular pages. Facebook users can “like” Facebook posts or updates, as well as
webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can also

become “fans” of particular Facebook pages. (See Attachment B, Paragraph (h)).

24. Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things. (See Attachment B, Paragraph (k)).

25. | Each Facebook account has an activity log, which is a list of the user’s posts and
other Facebook activities from the inception of the account to the present. The activity log
includes stories and photos that the user has been tagged in, as well as connections made through
the account, such as “liking” a Facebook page or adding someone as a friend. The activity log is
visible to the user but cannot be viewed by people who visit the user’s Facebook page. (See

Attachment B, Paragraph (b)).

26. Facebook Notes is a blogging feature available to Facebook users, and it enables
users to write and post notes or personal web logs (“blogs”), or to import their blogs from other

services, such as Xanga, LiveJournal, and Blogger. (See Attachment B, Paragraph (d)).

27. The Facebook Gifts feature allows users to send virtual “gifts” to their friends that
appear as icons on the recipient’s profile page. Gifts cost money to purchase, and a personalized

message can be attached to each gift. Facebook users can also send each other “pokes,” which
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are free and simply result in a notification to the recipient that he or she has been “poked” by the

sender. (See Attachment B, Paragraph (d)).

28. Facebook also has a Marketplace feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

(See Attachment B, Paragraph (1)).

29. In addition to the applications described above, Facebook also provides its users
with access to thousands of other applications on the Facebook platform. When a Facebook user
accesses or uses one of these applications, an update about that the user’s access or use of that

application may appear on the user’s profile page. (See Attachment B, Paragraph (d)).

30. | Facebook uses the term “Neoprint” to describe an expanded view of a given user
profile. The “Neoprint” for a given user can include the following information from the user’s
profile: profile contact information; News Feed information; status updates; links to videos,
photographs, articles, and other items; Notes; Wall postings; friend lists, including the friends’
Facebook user identification numbers; groups and networks of which the user is a member,
including the groups’ Facebook group identification numbers; future and past event postings;
rejected “Friend” requests; comments; gifts; pokes; tags; and information about the user’s access

and use of Facebook applications.

31. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or IP
address on Facebook, including information about the type of action, the date and time of the

action, and the user ID and IP address associated with the action. For example, if a user views a
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Facebook profile, that user’s IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so. (See Attachment B, Paragraph (g)).

32. Social networking providers like Facebook typically retain additional information
about their users’ accounts, such as information about the length of service (including start date),
the types of service utilized, and the means and source of any payments associated with the
service (including any credit card or bank account number). In some cases, Facebook users may
communicate directly with Facebook about issues relating to their accounts, such as technical
problems, billing inquiries, or complaints from other users. Social networking providers like
Facebook typically retain records about such communications, including records of contacts
between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications. (See Attachment B, Paragraphs (m), (n)

and (p)).

33. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information concerning
subscribers and their use of Facebook, such as account access information, transaction

information, and other account information.
INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

34. | anticipate executing this warrant under the Electronic Communications Privacy
Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant
to require Facebook to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.
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Upon receipt of the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.
CONCLUSION

35. Based on the forgoing, I request that the Court issue the proposed search warrant.
Because the warrant will be served on Facebook, who will then compile the requested records at
a time convenient to it, reasonable cause exists to permit the execution of the requested warrant

at any time in the day or night.

3a. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &
(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

37. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

38. | The undersigned is submitting to the Court, contemporaneous with this Affidavit
and associated documents, a request for a Nondisclosure Order and a request to seal all

documents associated with this matter for a period of one year or until further order of the Court.

Respectfully submitted,

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sift ¥ ae ——
“J. Ulery L a
Special Agent

Bureau of Alcohol, Tobacco, Firearms and
Explosives
Case 3:20-sw-00033-RCY Document1 Filed 02/14/20 Page 18 of 25 PagelD# 18

Subscribed and sworn to before me on the ut day of February, 2020
Richmond, Virginia

Reviewed by: AUSA Angela Mastandrea-Mitte ARN)

Is} oF

Roderick C. Young ©
United States Magistrate Judge

 

 

 

 
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ATTACHMENT A

Property to Be Searched

This warrant applies to information associated with the Facebook User ID tinacory.jones
that is stored at premises owned, maintained, controlled, or operated by Facebook, a company

headquartered in Menlo Park, California.
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ATTACHMENT B

I. Information to be Disclosed by Facebook

To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook Inc. (“Facebook”), regardless of whether such information is

located within or outside of the United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each user ID listed in Attachment A:

(a)

(b)

(c)

(d)

All contact and personal identifying information, including: full name, user
identification number, birth date, gender, contact e-mail addresses, Facebook
passwords, Facebook security questions and answers, physical address (including
city, state, and zip code), telephone numbers, screen names, websites, and other
personal identifiers;

All activity logs for the account and all other documents showing the user’s posts
and other Facebook activities for User ID tinacory.jones, from September 30,
2017 to October 29, 2017;

All photos and videos uploaded by the user IDs and all photos and videos
uploaded by any user that have that user tagged in them for User IDs
tinacory.jones, from September 30, 2017 to October 29, 2017, including
Exchangeable Image File (“EXIF”) data and any other metadata associated with
those photos and videos;

All profile information; News Feed information; status updates; links to videos,

photographs, articles, and other items; Notes; Wall postings; friend lists, including
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(e)

(f)

(g)

(h)

(i)

@)
(k)

(1)

the friends’ Facebook user identification numbers; groups and networks of which
the user is a member, including the groups’ Facebook group identification
numbers; future and past event postings; rejected “Friend” requests; comments;
gifts; pokes; tags; and information about the user’s access and use of Facebook
applications;

All other records of communications and messages made or received by the users,
for User ID tinacory.jones, from September 30, 2017 to October 29, 2017
including all private messages, chat history, video calling history, and pending
“Friend” requests;

All “check ins” and other location information;

All IP addresses that logged into the User ID accounts’;

All records of the account’s usage of the “Like” feature, including all Facebook
posts and all non-Facebook webpages and content that the users have “liked”;
All information about the Facebook pages that the accounts are or were a “fan”
of;

All past and present lists of friends created by the accounts;

All records of Facebook searches performed by the accounts for User ID
tinacory.jones, from September 30, 2017 to October 29, 2017;

All information about the users’ access and use of Facebook Marketplace;

 

2 “Logged-in” means to access the account using authentication credentials (e.g., passwords,
PINS, efc.), not merely viewing the account from a different Facebook User ID account or
publicly via the Internet.
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(m) The types of service utilized by the users;

(n) The length of service (including start date) and the means and source of any
payments associated with the service (including any credit card or bank account
number);

(0) All privacy settings and other account settings, including privacy settings for
individual Facebook posts and activities, and all records showing which Facebook
users have been blocked by the account;

(p) All records pertaining to communications between Facebook and any person
regarding the users or the users’ Facebook accounts, including contacts with
support services and records of actions taken.

i. Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of Title 18 U.S.C § 922 (a)(1)(A), Dealing Firearms Without a

License, involving Cory Jones from September 30, 2017 to October 29, 2017, including, for the

user ID identified on Attachment A, information pertaining to the following matters:

(a)
(b)

(c)

The sale of controlled substances;

Records relating to who created, used, or communicated with the user ID
regarding the matters described above in Paragraph II(a), including records about
their identities and whereabouts.

Evidence indicating how and when the Facebook account was accessed or used,
to determine the chronological and geographic context of account access, use, and
events relating to the crime under investigation and to the Facebook account

owner;
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(d) = Evidence indicating the Facebook account owner’s state of mind as it relates to

the crime under investigation;
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CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS
RECORDS PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)

I, , attest, under penalties of perjury under the
laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information
contained in this declaration is true and correct. I am employed by Facebook, and my official

title is . Iam acustodian of records for Facebook. I state

 

that each of the records attached hereto is the original record or a true duplicate of the original
record in the custody of Facebook, and that I am the custodian of the attached records consisting

of (pages/CDs/kilobytes). I further state that:

a. all records attached to this certificate were made at or near the time of the occurrence of
the matter set forth, by, or from information transmitted by, a person with knowledge of those

matters;

b. such records were kept in the ordinary course of a regularly conducted business activity

of Facebook; and
c. such records were made by Facebook as a regular practice.

I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.

 

Date Signature
